                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re:                                                     §            Case No. 20-51066-mar
                                                           §
HFV LIQUIDATING TRUST,                                     §            Chapter 11
                                                           §
               Debtor.                                     §            Honorable Mark A. Randon
                                                           §

                       ORDER ESTABLISHING PROCEDURES GOVERNING
                       AVOIDANCE ACTION ADVERSARY PROCEEDINGS

        On this day came on to be considered the Liquidating Trustee’s Motion to Establish
Procedures Governing Avoidance Action Adversary Proceeding (the “Motion”).1 The Court,
having reviewed and considered the Motion and objections to the Motion, if any, along with the
statements and arguments of counsel during the hearing on the Motion; due notice having being
given, is of the opinion that the Motion and Procedures should be approved.
           Therefore, it is hereby ORDERED:
            (1)     The proposed Procedures, attached to this Order as Exhibit A, are hereby
                    approved;

            (2)     The proposed form of Notice Regarding Procedures Governing Adversary
                    Proceedings, attached to the Procedures as Exhibit 1, is hereby approved;

            (3)     The Liquidating Trustee shall serve a copy of the Procedures, along with a copy
                    of the Notice of Procedures, on each defendant to an Adversary Proceeding along
                    with a copy of the summons and complaint in the relevant Adversary Proceeding.

            (4)     This Court retains exclusive jurisdiction with respect to all maters arising from or
                    related to the implementation, interpretation, and enforcement of this Order.

Signed on October 7, 2022




1
    Capitalized terms used but not defined herein have meanings given to them in the Motion.



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